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                                                                         8                                    UNITED STATES DISTRICT COURT
                                                                         9                                  NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
United States District Court




                                                                         11   IN RE:                                                  No. 13-MD-02420 YGR (DMR)
                               For the Northern District of California




                                                                         12                                                           AMENDED ORDER ON JOINT
                                                                                       LITHIUM ION BATTERIES                          DISCOVERY LETTER RE DEPOSITION
                                                                         13            ANTITRUST LITIGATION                           PROTOCOL AND JOINT DISCOVERY
                                                                                                                                      STATUS REPORT
                                                                         14
                                                                         15   ___________________________________/
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                                                                                       On November 10, 2014, the court conducted a hearing on the parties’ proposed deposition
                                                                         18
                                                                              protocol, as well as the discovery issues raised in their Joint Status Report. [Docket Nos. 501, 510.]
                                                                         19
                                                                              This order summarizes the rulings made by the court on the record during the hearing.
                                                                         20
                                                                                                                      I. Deposition Protocol
                                                                         21
                                                                                       The court ruled on the disputes regarding the parties’ deposition protocol, as detailed below.
                                                                         22
                                                                              By no later than November 24, 2014 the parties shall revise the proposed deposition protocol in
                                                                         23
                                                                              accordance with this order and submit it for the court’s approval.
                                                                         24
                                                                              A.       Number of Depositions (§ I(B))
                                                                         25
                                                                                       For purposes of Plaintiffs’ deposition limits, the Panasonic family of defendants and the
                                                                         26
                                                                              Sanyo family of defendants shall be considered separate Defendant groups. This ruling is made
                                                                         27
                                                                              without prejudice to Panasonic’s right to move for an order adjusting downward the total number of
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                                                                         1    depositions allowed for Panasonic and Sanyo if it is able to make a factual showing that such an
                                                                         2    adjustment is warranted.
                                                                         3    B.      Departing Employees (§ I(C))
                                                                         4            Plaintiffs may immediately establish “watchlists” of no more than fifteen custodians/
                                                                         5    witnesses per Defendant group. For each such identified custodian/witness, Defendants shall timely
                                                                         6    inform Plaintiffs in writing if they become aware that such person intends to leave, or does leave, his
                                                                         7    or her employment, to the extent reasonably possible. Upon Plaintiffs’ request, Defendants shall
                                                                         8    make that person available for deposition either before or after his or her departure, to the extent
                                                                         9    reasonably possible. Plaintiffs may make changes to their watchlists by December 31, 2014, and on
                                                                         10   a quarterly basis thereafter until December 31, 2015. These requirements will cease on June 15,
United States District Court




                                                                         11   2016.
                               For the Northern District of California




                                                                         12   C.      Inclusion of Direct Action Plaintiffs (§ I(D))
                                                                         13           Plaintiffs and Direct Action Plaintiffs collectively are subject to the 12 deposition limit for
                                                                         14   any single Defendant group.
                                                                         15   D.      Location of Depositions (§ III(B))
                                                                         16           Depositions of a corporation pursuant to Federal Rule of Civil Procedure 30(b)(6) will
                                                                         17   presumptively take place in the Northern District of California. The noticing party or parties shall
                                                                         18   be responsible for payment of the reasonable travel and lodging expenses for any 30(b)(6) foreign
                                                                         19   resident witnesses produced in the United States. The parties should consider whether the United
                                                                         20   States, including but not limited to the Northern District of California, is the most efficient and
                                                                         21   inexpensive location for the depositions of non-30(b)(6) foreign resident witnesses.
                                                                         22           The Federal Rules of Civil Procedure and this court’s orders will apply to the conduct of any
                                                                         23   deposition occurring in a foreign location. To the extent that the laws of the foreign location
                                                                         24   prohibit the application of the Federal Rules of Civil Procedure and this court’s orders or
                                                                         25   substantially interfere with the ability to take a deposition in that location, the parties shall meet and
                                                                         26   confer, and hold the deposition in an alternate location which allows for their application.
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                                                                         1    E.      Scheduling of Depositions (§ III(D))
                                                                         2            A letter or telephone call suffices to begin the process of scheduling a deposition. The court
                                                                         3    anticipates that the parties should be able to confirm the date and location of a deposition within
                                                                         4    three weeks of a request. The parties shall meet and confer regarding a process by which they will
                                                                         5    track objective, non-argumentative information related to deposition scheduling, e.g., an agreed-
                                                                         6    upon log format that reflects dates of initial requests to schedule depositions, response/follow-up
                                                                         7    dates, and reasons provided for unavailability. If a dispute arises, the court expects to receive a joint
                                                                         8    log containing agreed-upon content, rather than competing logs containing different “spins” on the
                                                                         9    same log entry.
                                                                         10   F.      Choice of Interpreters (§ IV(A)
United States District Court




                                                                         11           Any party requesting an interpreter shall bear the expense of providing their own interpreter.
                               For the Northern District of California




                                                                         12   The parties shall meet and confer to create an agreed-upon list from which the parties shall select
                                                                         13   interpreters. The agreed-upon list should be as expansive as possible; in other words, the court
                                                                         14   expects the parties to conduct due diligence now to identify mutually agreeable interpreters beyond
                                                                         15   those with which they currently are familiar. If a listed interpreter is not available, the parties shall
                                                                         16   meet and confer regarding the selection of an alternative. If the parties are unable to reach an
                                                                         17   agreement, the deposition should go forward and the noticing party or parties shall select and bear
                                                                         18   the expense of the lead interpreter. This ruling is made without prejudice to any witness timely
                                                                         19   moving for a protective order on the basis of a dispute regarding an interpreter.
                                                                         20   G.      Objections at Depositions (§ VII(A))
                                                                         21           Objections shall be limited to objection to the form of the question (“asked and answered,”
                                                                         22   “compound,” etc.) unless the objection involves privilege or the examining attorney asks for an
                                                                         23   explanation. Speaking objections or those which the court could interpret as coaching the deponent
                                                                         24   are prohibited. Attorneys shall not argue disputed objections or assertions of privilege on the record.
                                                                         25                                           II. Joint Status Report
                                                                         26   A.      Production of Transaction Data
                                                                         27           The court ordered Defendants to immediately begin producing transaction data regarding
                                                                         28   sales of lithium ion cells and battery packs, as well as any other categories of transaction-related


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                                                                         4    information for which the parties have reached agreement. Subject to resolution of the disputes set
                                                                         5    forth below, (1) the production of the cell/pack sales information must be completed by February
                                                                         6    27, 2015; and (2) the production of finished product and utilization/capacity data shall be completed
                                                                         7    by April 30, 2015. The court expects that all of the above-identified data shall be produced on a
                                                                         8    rolling basis as it becomes available; in other words, the majority of the data should be produced
                                                                         9    well in advance of the production deadline.
                                                                         10           The court set the following briefing and hearing schedule regarding disputed categories of
United States District Court




                                                                         11   information:
                               For the Northern District of California




                                                                         12           C      Dispute regarding geographic scope of transactional data: any joint letter due by
                                                                         13                  December 2, 2014; hearing set on December 18, 2014 at 11:00 a.m. at the U.S.
                                                                         14                  District Court, 1301 Clay Street, Oakland, California 94612. For courtroom number
                                                                         15                  and floor information, please check the Court’s on-line calendar at
                                                                         16                  http://www.cand.uscourts.gov (click “Calendars - Judges’ Weekly Calendars” link,
                                                                         17                  then select Judge Ryu’s calendar).
                                                                         18           C      Dispute regarding finished products data: any joint letter due by December 16, 2014.
                                                                         19                  Court will set a hearing.
                                                                         20           C      Dispute regarding capacity and utilization data: any joint letter due by January 16,
                                                                         21                  2015. Court will set a hearing.
                                                                         22   In addition, any joint letter regarding custodians and search methods pertaining to discovery of non-
                                                                         23   transaction data is due by January 16, 2015, with a hearing to be set at a later date.
                                                                         24   B.      ESI Checklist
                                                                         25           The parties shall meet and confer regarding the exchange of information regarding identity
                                                                         26   and number of custodians, including whether to adopt the discovery plan protocol used in In re:
                                                                         27   Optical Disk Drive Products Antitrust Litigation, C 10-MD-02143 RS (JCS), Docket No. 606 at
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                                                                         1    page 2, §a. Any joint letter shall be filed by November 26, 2014, with a hearing set on December
                                                                         2    18, 2014 at 11:00 a.m.
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                                                                         4           IT IS SO ORDERED.




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                                                                         6    Dated: November 18, 2014
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                                                                                                                                  United States Magistrate Judge
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United States District Court




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                               For the Northern District of California




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